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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 6:13-cr-221-Orl-28KRS

 

DEWARREN ANTOINE LEWIS

 

ORDER

 

Defendant's “Motion for Reconsideration of Defendant's Request for
Compassionate Release, Claiming Extraordinary and Compelling Circumstances Pursuant
to 18 U.S.C. § 3582c)(1(A)(i)” (Doc. 106), construed as a motion for reconsideration of the
Court’s August 10, 2020 order denying Defendant’s motion for compassionate release
(Doc. 105), is before the Court for consideration. Defendant also filed a “Supplementary
Brief.” (Doc. 108). The Government filed a response opposing the requested relief. (Doc.
109). Because Defendant offers no intervening change in controlling law, no new evidence,
and makes no showing of clear error or manifest injustice, the motion is due to be denied.

“Although the Federal Rules of Criminal Procedure do not specifically
authorize motions for reconsideration, both the Supreme Court and [the Eleventh Circuit
Court of Appeals] have permitted parties to file such motions in criminal cases.” Serrano v.
United States, 411 F. App’x 253, 255 (11th Cir. 2011) (citing United States v. Phillips, 597

F.3d 1190, 1199-1200 (41th Cir. 2010)).

 

In deciding motions for reconsideration in criminal cases, courts rely on the
standards applicable to motions for reconsideration filed in civil cases pursuant to Rule 59,
Federal Rules of Civil Procedure. United States v. Brown, No. 3:18-cr-89-J-34JRK, 2019

WL 7067091, at * 1 (M.D. Fla. Dec. 23, 2019). The grounds for granting a Rule 59 motion

 
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are newly discovered evidence or manifest errors of law or fact. Arthur v. King, 500 F.3d
1335, 1343 (11th Cir. 2007). These parameters include “(1) an intervening change in
controlling law; (2) the availability of new evidence; and (3) the need to correct clear error
or manifest injustice.” Lamar Adver. of Mobile, Inc. v. City of Lakeland, Fla., 189 F.R.D.
480, 489 (M.D. Fila. 1999). The purpose of a motion for reconsideration is not to reexamine
an unfavorable ruling in the absence of a manifest error of law or fact. See Jacobs v.
Tempur-Pedic Int'l, Inc, 626 F.3d 1327,1344 (11th Cir. 2010). And,
a motion for reconsideration cannot be used “to relitigate old matters, raise argument or
present evidence that could have been raised prior to the” Court's ruling. Michael Linet,
Inc. v. Village of Wellington, Fla.. 408 F.3d 757, 763 (11th Cir. 2005).

Defendant sought compassionate release under section (D) of U.S.S.G. 1B1.13, the

policy statement underlying 18 U.S.C. § 3582, due to the amended provisions of 18 U.S.C.

 

§ 924(c) made under the First Step Act in 2018. in its August 10, 2020 order, the Court
found the amendment did not apply to Defendant, and Defendant did not present any
extraordinary and compelling reasons to grant him the relief he requested. The Court also
considered the section 3553(a) factors and found they did not weigh in favor of Defendant’s
release.

Defendant does not allege an error of law or fact or present newly discovered
evidence, but rather urges the Court to change its mind based on non-binding cases that

decided the issue of what constitutes extraordinary and compelling circumstances

 
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differently than this Court. Defendant additionally asks the Court to change its mind as to
the section 3553(a) factors."
Defendant offers no intervening change in controlling law, no new evidence, and

makes no showing of clear error or manifest injustice of the Court's August 10, 2020 Order.

 

 

JOHNWAANTOON I
Unijéy’ States District Judge

Copies furnished to:

United States Attorney

United States Probation Office
Dewarren Antoine Lewis

 

1 Defendant also makes repeated arguments that the Court did not consider the
“Reply” he filed at docket entry 104. Defendant did not seek leave, and the Court did not
grant leave to Defendant, to file a Reply. See Local Rule 3.01(c). The Court was thus
under no obligation to consider the Reply. However, although not specifically called out
in the August 10, 2020 Order (Doc. 105), the Court considered the Reply and found no
arguments not already advanced.

 
